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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 United States,
                      Plaintiff,


                      vs.                             Case No. 13-10037-03-JTM


 Rodolfo Braulio Arena-Pinzon,
                      Defendants.




                             MEMORANDUM AND ORDER



       This matter is before the court on the defendant Rodolfo Braulio Arena-Pinzon’s

Motion for Relief from Custody. The defendant’s motion is predicated on H.R. 62, the

Federal Prison Nonviolent Offender Relief Act of 2013. However, this provision has not

been adopted as law, it remains only proposed legislation. No action has been taken on the

proposed Act since it was referred to a House of Representatives Committee on January

13, 2013. This court has authority to modify a final judgment only an appropriate grant of

statutory authority. See United States v. Mendoza, 118 F.3d 707, 709 (10th Cir. 1997). Because

no such authority exists in the present matter, the defendant’s Motion for Relief (Dkt. 87)

is hereby denied.
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IT IS SO ORDERED this 22nd day of July, 2014.



                                        s/ J. Thomas Marten

                                       J. THOMAS MARTEN, JUDGE




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